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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 Petro Siruk, Marina Y. Siruk,                     Case No. 20‐CV‐1639 (NEB/DTS)



                Plaintiffs,

 v.                                              ORDER ACCEPTING REPORT AND
                                                     RECOMMENDATION
 David Cofman, James Robert
 Chan, ServeRight Pros,



                Defendants.



       The Court has received the September 10, 2020 Report and Recommendation

(“R&R”) of United States Magistrate Judge David T. Schultz. (ECF No. 31.) In the R&R,

Judge Schultz recommends summarily dismissing the complaint (ECF No. 1) for failure

to state a claim on which relief can be granted under 28 U.S.C. § 1915(e)(2)(B)(ii), denying

the plaintiffs’ motion for summary judgment (ECF No. 27) and application to proceed in

forma pauperis (ECF No. 2), and denying the defendant’s motion to dismiss (ECF No. 6) as

moot. For the reasons set forth below, the Court overrules any objections, accepts the

R&R, and dismisses the complaint without prejudice for lack of subject matter

jurisdiction.

       The plaintiffs, Petro and Marina Siruk, filed three documents objecting to the R&R

with the Court. (ECF Nos. 32, 37, 40.) In their letter, the Siruks question the Court’s
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authority to issue the R&R and generally disagree with its findings. (ECF No. 32.)

Likewise, in their objections, the Siruks reiterate their broad disagreements with the R&R

and explain their desire for a jury to hear their claims, despite having filed a motion for

summary judgment. (ECF No. 37.) The Siruks also filed a reply to Defendant James Robert

Chang’s response to the R&R. (ECF No. 40.) This filing is largely repetitive of the Siruk’s

original objections, and gets no closer to presenting clear objections to the R&R. After

liberally construing the documents, the Court concludes that they do not state any

specific objections to the R&R.

       “Without objections, a district court is under no obligation to review the factual or

legal conclusions of such a report.” Reed v. Curry Concrete Constr., Inc., No. 10‐CV‐4329

(JRT/LIB), 2011 WL 2015217, at *2 (D. Minn. May 23, 2011). When a party does not cite

any reason why the R&R is incorrect, nor any basis for the Court to reach a different

outcome, the Court is not required to conduct a de novo review of the Magistrate Judge’s

recommendations. See Hudson v. Gammon, 46 F.3d 785, 786 (8th Cir. 1995) (requiring de

novo review only for the portions of the R&R to which objections are made). The Siruks

do not cite any specific objections to the R&R, so the Court reviews the R&R only for clear

error. Reed, 2011 WL 2015217, at *2 (collecting cases); see also Grinder v. Gammon, 73 F.3d

793, 795 (8th Cir. 1996) (per curiam) (acknowledging that a district court reviews an R&R

for clear error absent an objection). The Court finds Judge Schultz’s reasoning sound and

finds no legal basis to depart from his recommendations.



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      Finding no clear error, and based upon all the files, records, and proceedings in

the above‐captioned matter, IT IS HEREBY ORDERED THAT:

      1.       The Report and Recommendation (ECF No. 31) is ACCEPTED;

      2.       The action is DISMISSED WITHOUT PREJUDICE;

      3.       Defendant James Chan’s motion to dismiss (ECF No. 6) is DENIED AS
               MOOT;

      4.       The plaintiffs’ motion for summary judgement (ECF No. 27) is DENIED;
               and

      5.       The plaintiffs’ application to proceed in forma pauperis (ECF No. 2) is
               DENIED.

LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: November 2, 2020                        BY THE COURT:

                                               s/Nancy E. Brasel
                                               Nancy E. Brasel
                                               United States District Judge




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